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Co»Counsel for Plaintiffs

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

CHERRY DIETZMANN, lndividually; )
MINOR J.A.II, by and through)

his Mother and Guardian, CHERRY
DIETZMANN; and MINOR D.A.

by and through her Mother and
Guardian, CHERRY DIETZMANN,

Plaintiffs,

VS.

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UNITED STATES OF AMERICA; UNITED )

STATES MARSHAL’S OFFICE; KEVIN )

GUINN in his official capacity as )

a United States Deputy Marshal )
and in his individual capacity; and)
JOHN OLSON, JR. in his Official )
Capacity as a United States Deputy )
Marshal and in his individual )
capacity; and John Does I-X who are)
employees and/or agents of the )
United States Marshal’s Office )
and/or other agencies of the United)
States; )

) Case No.
Defendants. )

)

 

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v. U. .
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COMPLAINT

I. PARTIES

l. Plaintiffs, Cherry Dietzmann and the minor J. A.ll and
minor D. A (hereinafter collectively the “Dietzmann-Anderson
plaintiffs”), were harmed, and will be harmed, by Defendants’
culpable conduct as set out herein. Minors J. A. ll and D. A.
bring this action through their Mother and Guardian, Cherry
Dietzmann. Cherry Dietzmann_ brings this action Individually,
and on behalf of her two Minor Children, J. A. ll and D. A.

2. On information and belief, the Defendant United States
Marshal’s Office is a Department of Justice division and/or
agency of the Defendant United States of America. Said
Defendants are responsible and/or vicariously liable for the
actions of the named United States Deputy Marshal Defendants and
other law enforcement officers acting as their agents or
employees and/or in conjunction with them and/or other agents or
persons as to the attempted apprehension referenced herein of
Jason Anderson, Sr.

3. On information and. belief, Defendant Kevin Guinn, a
United States Deputy Marshal is and/or was at the time of events
referenced. to herein, an employee and/or agent of the United

States Marshal’s Office and was and/or is acting in a culpable

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fashion ill the State lof Alaska, so as to subject lmml to the
jurisdiction of this Court.

4. On information and belief, Defendant John Olson, Jr.,
a United. States Deputy Marshal is and/or was at_ the time of
events referenced. to herein, an employee and/or agent of the
United States Marshal’s Office and was and/or is acting in a
culpable fashion in the State of Alaska, so as to subject him to
the jurisdiction of this Court.

5. Defendants John Does l-IX are and/or‘ were employees
and/or agents of the United States Marshal’s Office and/or the
federal agencies involved in the negligent and/or reckless
planning and execution of the attempted arrest of Jason
Anderson, Sr. at the Homer Airport and/or post shooting
investigation. of same and. were, or are, acting' in. a culpable
fashion in the State of Alaska so as to subject them to the
jurisdiction of this Court. Certain of defendants John Does l-X
were aware of the propensity of certain individual United States
Marshals involved in the attempted arrest to engage in
inappropriate, impulsive, aggressive, reckless and/or violent
behavior before the incident and did not take appropriate
corrective and/or supervisory actions to remedy same.

6. Certain. culpable parties and/or entities, as to the
incident, injuries, damages addressed herein, have been sued

separately in Alaska State Court in Dietzmann, et al v. City of

 

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Homer, et al., Case 3KN~08-156 Cl, and plaintiffs reserve the
right to seek appropriate relief against all culpable defendants
in the appropriate Court/jurisdiction, applying the appropriate

law.

7. The Defendants are liable under the applicable
provisions of the U.S. Statutes including the Federal Tort
Claims Act, 28 U.S.C. § 267l, et §§g. Jurisdiction is conferred
under 28 U.S.C. § l346(b), 28 U.S.C. § l402(b), and 28 U.S.C. §
2675(a).

8. Separate administrative claims on behalf of the
Anderson-Dietzmann Plaintiffs, were timely filed with the United
States Marshal’s Office, et al., as a result of the injuries to
minor J. A. ll. The administrative claim on behalf of minor J.
A. ll was for a sum of $75,000,000.00; the administrative claim
on behalf of Cherry Dietzmann was for a sum of $20,000,000.00;
the administrative claim on behalf of minor D. A. was for a sum
of $5,000,000.00. Said administrative claims are incorporated
herein by reference and re-alleged herein.

9. The United. States of America and/or the United
States Marshal’s Office has failed to make a final disposition
of the claims of Plaintiffs, and due to the fact that more than
six months have passed, Plaintiffs have elected to file their
complaint in the United. States District Court pursuant to 28
U.S.C. § 2675(a).

lO. This claim. is timely filed under 28 U.S.C. §

240l(a)(b) and 28 U.S.C. § 2675(a).

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II. PREAMBLE AS TO CULPABLE CONDUCT,
CAUSES OF ACTION & DAMAGES

On or about March l, 2006, certain of the Defendants and/or
employees or agents of the Defendants aided and abetted by other
law enforcement, attempted to apprehend and arrest Jason
Anderson, Sr. at the Homer Airport in Homer, Alaska. Minor J.
A. ll was a passenger in a car operated by his father, Jason
Anderson, Sr. Minor J. A. ll's sister, minor D. A., was also in
the car. The father was a fugitive under U.S. lndictment and
sought for apprehension. Certain law enforcement officers
and/or agents of the Defendants had been told by Cherry
Dietzmann (the mother of Minors J. A. ll and D.A.), and/or by
others, that Anderson, Sr. was carrying a gun and had and/or
would have his children in the car, and if apprehension was
sought in the presence of the children that they would most
likely be harmed. Despite this, the Defendants planned to
apprehend Jason Anderson, Sr., in circumstances in which his
children were foreseeably involved, and then when their plan
went awry an officer and/or officers initiated confrontation, by
placing a law enforcement vehicle and/or vehicles to block Mr.
Anderson’s vehicle, losing any element of surprise and leaving
no opportunity to safely extricate the children in the event the
confrontation escalated, therefore, placing lives of the

children and many people at the Homer Airport in danger of great

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bodily harm and injury. The Officers and/or employees and/or
agents of Defendants conducting the attempted “sting”
apprehension had knowledge that if they did so via the manner in
which they had initially planned. and/or as they' then planned
and/or proceeded, the two minor children and the many other
people at the Homer Airport that day would be in serious danger
of harm. The Defendants had such knowledge, given the suspect
Jason Anderson Sr.’s history, as well as intelligence
information from federal agencies, State agencies or divisions,
local authorities, and warnings from Cherry Dietzmann and other
acquaintances of Mr. Anderson and/or informants and/or citizens.

The officers knewy or should. have known, that given. the
circumstances by and. in which Jason Anderson, Sr. was
maintaining custody of the two minor children, that the children
were at grave risk of harm and injury if the officers acted to
attempt and/or re-attempt the apprehension as they had planned
and/or as they did and precipitate a confrontation with the
children present, as they did.

Guns were drawn and the officers fired into Jason Anderson,
Sr.’s vehicle, As a result of the shootout, Jason Anderson, Sr.
was killed. Multiple bullets penetrated the vehicle, including
many bullets penetrating Jason Anderson, Sr., and at least one
bullet striking minor J. A. ll in the head, destroying one eye,

and causing massive brain damage. Notwithstanding the

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foreseeable harm, consequences, and circumstances, the arresting
officers and/or certain employees and/or agents of the
Defendants proceeded in a culpable and/or negligent and/or
reckless fashion to plan, conduct, and attempt and/or re-attempt
the apprehension. Due to the nature of the information known as
to Jason Anderson, Sr., there was no sufficient urgency or other
considerations to compel the officers to act as they did and
initially planned, or‘ to continue as they did, <m: to justify
their actions. The arresting officers and/or certain employees
and/or agents of the Defendants negligently and/or recklessly
violated their duties and obligations to minor J. A. ll, minor
D.A., and Cherry Dietzmann in the apprehension process, and
failed to use due care in planning, attempting, and/or re-
attempting to make this arrest in this manner, and. they are
liable for same, including their culpable conduct before and
during the attempted apprehension, and thereafter. As a
proximate cause of their culpable conduct, the Minor J. A. ll,
his sister minor D.A., and their mother Cherry Dietzmann
suffered and will suffer grave harm, psychological and physical
injury, as well as personal and economic damages.

Plaintiffs seek all damages due as to all relevant causes
of action_ under applicable law' as a result of the negligent,
reckless, and/or culpable conduct of the defendants and the
Officers in planning, conducting, attempting, and/or re-

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attempting the apprehension, and all their negligent, reckless,
and/or culpable conduct, before, during, and after the
confrontation with Jason Anderson, Sr., and harm to minor J. A.
ll, minor D. A., and Cherry Dietzmann, including all economic,
physical, psychological and emotional, and/or other derivative
injuries proximately caused by same, including all damages due,
given the Defendants' duties and obligations to the Plaintiffs,
and the culpable violation by defendants of same.

Minor J. A. ll suffered loss of his sight in one eye, and
permanent and severe TBl (Traumatic Brain lnjury). He will need
lifelong 24-hour care, treatment, and assistance to meet his
special needs and disabilities and will suffer damages
throughout his natural life. Minor J. A. ll, through his
mother, states a claim for such negligent, reckless, and/or
culpable conduct and 'violations of the Defendants' duties and
obligations, and for psychological and physical harm and injury,
negligent and/or reckless infliction of emotional distress, loss
of consortium, pain and suffering, past and future medical
expenses, loss of opportunity for employment, loss of earning
capacity and enjoyment of life, loss of society and
companionship, and other relevant claims and damages, and. he
states and asserts claims for all causes and damages of action

due under the applicable law.

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Minor D.A., as a result of witnessing these horrifying
events, and narrowly missing injury herself (but being put in
extreme apprehension of imminent bodily harm), has suffered
extreme psychological harm and injury, and emotional distress,
and will suffer damages as to same throughout her natural life.
As a result, minor D.A. will require counseling and treatment
throughout the remainder of her natural life. Minor D. A.,
through her mother, states and asserts claims for all causes of
action and damages due under the applicable law, reference such
culpable conduct, and violations of duties and obligations, and
such psychological harm and injuries, negligent and/or reckless
infliction of emotional distress, and loss of consortium as to
her brother minor J. A. ll.

Cherry Dietzmann states and asserts a claim regarding
defendants’ negligent, reckless, and/or culpable conduct, and
defendants’ violations of their duties and obligations;
psychological harm and injury; negligent and/or reckless
infliction of emotional distress; loss of consortium regarding
the severe injury to her son, minor J. A. ll; and psychological
harm and emotional distress; and emotional distress and loss of
consortium related to her daughter, minor D.A. Cherry Dietzmann
did not have time to steel herself before witnessing minor J. A.
ll in Providence Alaska Medical Center fighting for his life, or
before witnessing her traumatized daughter minor D.A. As a

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result, she suffered extreme psychological injury and emotional
distress and will continue to suffer same throughout her natural
life. Cherry Dietzmann has suffered, and will suffer in the
future with reasonable certainty, by being deprived of the love,
companionship, comfort, affection, society, solace and moral
support of her son minor J. A. ll and her daughter, minor D.A.
The officers and/or other Defendants are liable due to the
Tort of Outrage as to all three Plaintiffs. The Defendants are
also, as stated, liable for spoliation of evidence and denial of
the right to a full and fair civil and criminal investigation
due under the applicable constitutional provisions and statutes
and common law. As to all three Plaintiffs (Minor J. A. ll,
minor D.A., and Cherry Dietzmann), Cherry Dietzmann states and
asserts claims and damages for all causes of action and damages
due under the applicable law, reference such culpable conduct,
as to the negligent, reckless and/or culpable planning,
conducting, attempts and re-attempts as to the apprehension of
Jason Anderson, Sr., and violation of the duties and obligations
of the Officers to minor J. A. ll, minor D.A., and Cherry
Dietzmann before, during, and after same as to such attempted
apprehension and events. This includes all claims, causes of

action, and damages due under all applicable law.

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III. MDRE SPECIFIC FACTS

30. On or about March l, 2006, plaintiffs minor J.A.ll and
minor D.A. were back-seat passengers in a rental vehicle,
license plate no. ENL 522, operated by their father, Jason
Anderson, Sr. at the Homer Airport in Homer, Alaska.
Allegations as to license plate no. ENL522 and/or identification
of said vehicle may be added by amending the Complaint without

prejudice in light of proof.

3l. Plaintiffs, minor J.A. ll and minor D.A., were in baby
or infant car seats in the back seat of said vehicle, and were

exercising all due and reasonable care at all relevant times.

32. Jason Anderson, Sr. was the driver of the rental

vehicle,

33. On information and belief, agents of certain
Defendants and/or‘ law enforcement officials, including certain
of the above-named Defendants and/or their agents, sought to

arrest Jason Anderson, Sr.

34. On information and belief, on and before March l,
2006, the United States Marshal’s Office and/or certain of the
above-named defendants and/or their agents were working and
cooperating and planning to apprehend and/or attempting to
apprehend Jason Anderson, Sr.

35. On or before March. l, 2006, the Defendants, United

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States of America and/or United States Marshal's Office,
Defendant Kevin Guinn, Defendant John Olson, Jr., Defendants
John Does l-X, and certain other entities and individuals
including certain of the following, City of Homer, the Homer
Police Department, and Homer Police Sgt. Kuhns, Sgt. Hutt,
Officer Shealy, Officer Luck, certain of the John and/or Jane
Doe Homer Police Officers l-lO,the State of Alaska, Alaska State
Troopers, Alaska State Trooper Arthur “Tom” Dunn, Alaska State
Trooper‘ Vic Aye, Alaska State Trooper David Sherbahn, Alaska
State Trooper Michael Henry, Alaska State Trooper Captain Tom
Bowman, and certain of Alaska State Troopers, Alaska State
Trooper lnvestigator David Hanson, Alaska State Trooper
lnvestigator Tim Hunyor, Alaska State Trooper lnvestigator
Eugene Fowler, Alaska State Trooper lnvestigator Scott Briggs,
Alaska State Trooper Travis Bordner, Alaska State Trooper
lnvestigator Robert Hunter, Alaska State Trooper lnvestigator
Mark Pearson, Alaska State Trooper lnvestigator Michelyn Grigg,
Alaska State Trooper Sgt. Randy McPherron, Alaska State Trooper
lnvestigator Eric Burroughs, and. John and/or Jane Doe Alaska
State Troopers ll~20, and/or their agents or employees and/or
persons acting in concert with them, had actual or constructive
notice that Jason Anderson, Sr. was armed with a gun and that a
confrontation, while Jason Anderson, Sr. had the children with
him could lead to a dangerous situation, with foreseeable harm

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and injury to the Plaintiffs.

36. On or before March l, 2006, the Defendants United
States of America and/or United States Marshal's Office,
Defendant Kevin Guinn, Defendant John Olson, Jr., Defendants
John Does l-X, and certain other entities and individuals
including certain of the following, City of Homer, the Homer
Police Department, Sgt. Kuhns, Sgt. Hutt, Officer Shealy,
Officer Luck, certain of the John and/or Jane Doe Homer Police
Officers l-lO, the State of Alaska Defendant, Alaska State
Troopers Defendant, Alaska State Trooper Arthur “Tom” Dunn,
Alaska State Trooper Vic Aye, Alaska State Trooper David
Sherbahn, Alaska State Trooper Michael Henry, Alaska State
Trooper Captain Tom. Bowman, and certain of the Alaska State
Troopers, lnvestigator David Hanson, lnvestigator Tim Hunyor,
lnvestigator` Eugene Fowler, lnvestigator Scott Briggs; Trooper
Travis Bordner; lnvestigator Robert Hunter, lnvestigator Mark
Pearson, lnvestigator Michelyn Grigg, Sgt. Randy McPherron,
lnvestigator Eric Burroughs, and John and/or Jane Doe Alaska
State Troopers ll-20, and/or their agents or employees and/or
persons acting in concert with them, had actual or constructive
notice of where Jason Anderson, Sr. was living in Homer, Alaska,
and he could have been safely apprehended in a manner that would
have protected the Plaintiffs.

37. On March l, 2006, the United States of America and/or

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United States Marshal’s Office, Defendant Kevin Guinn, Defendant
John_ Olson, Jr., Defendants John Does l-X, and certain other
entities and individuals including certain of the following, the
City of Homer, Homer Police Department, State of Alaska, Alaska
State Troopers, Sgt. Kuhns, Sgt. Hutt, Officer Shealy, and
foicer Luck, and certain of the named Defendants, John and/or
Jane Doe Homer Police Officers l-lO and John and/or Jane Doe
Alaska State Troopers ll-20 had actual or constructive notice
that that Jason .Anderson, Sr. was traveling' in a lolack Jeep
rental vehicle, and that he was traveling in that vehicle with
his children, minor J.A.ll and minor D.A.

38. Given all the circumstances known or that should have
been known, to the officers, certain of the Defendants, and/or
their agents or employees, the plan also negligently deviated
from their (Marshal’s) own policies, procedures, and training,
to apprehend Jason Anderson, Sr., and was culpable, defective,
negligent, reckless and likely to cause danger, harm and injury
to the two minor children, minor J .A.ll and minor D.A. The
United States of America and/or United States Marshal’s Office,
Defendant Kevin Guinn, Defendant John Olson, Jr., Defendants
John Does l~X, and certain other entities and individuals
including, certain of the following, the City of Homer, Homer
Police Department, State of Alaska, and Alaska State Troopers,

and. certain of the named. Defendants, with such. active and/or

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constructive knowledge, initiated, proceeded, and after notice
that plan was going astray and awry, still proceeded, to attempt
the apprehension in a defective and dangerous manner. The State
of Alaska, Alaska State Troopers, and certain of the named
Defendants, despite such knowledge, were still standing by to,
and in fact did, aid and abet the defective plan and attempt as
to the apprehension of Jason Anderson, Sr.

39. ln planning and attempting to execute said plan(s), it
was apparent, or should have been apparent, to certain of the
officers and/or Defendants that the plan was both initially
defective, and then went astray and awry, Notwithstanding that,
due to their initial plan going astray and awry and the
increased danger to the children was foreseeable, certain of the
officers and/or Defendants continued to proceed with the
attempted apprehension. Said officers and/or Defendants
negligently, recklessly, and/or culpably failed to abort the
plan, Certain. of the officers and/or defendants negligently,
recklessly and/or with willful indifference, planned and
proceeded with the plan in the first instance, and further,
proceeded in such culpable fashion in failing to abort the plan,

40. Certain of the officers and/or Defendants continued to
attempt an apprehension, notwithstanding the fact that it was
foreseeable that the apprehension would be in the presence of
the children, and consequently, the children would be subjected

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to foreseeable danger, harm and injury with further injury to
their mother,

41. ln spite of the foregoing information, Defendants
Guinn. and. Olson, along' with Sgt. Hutt, Officer` Luck, Officer
Shealy, and/or other officers drove their vehicles up to
Anderson Sr.'s vehicle at the Homer Airport on March l, 2006,
and confronted him.

42. Guns were drawn and a shootout ensued.

43. During the shootout, a bullet struck minor J.A.ll
through_ his head and. brain, causing' him. severe and permanent
injuries, and extreme emotional distress.

44. During' the shootout, minor D.A. was put in fear of
losing her life; she witnessed her brother being shot and
permanently injured; she witnessed. her father being shot and
killed; and she suffered extreme emotional distress.

45. Plaintiff Cherry Dietzmann, who had been cooperating
with law enforcement officials to apprehend Jason Anderson, Sr.
and to secure the safe return of her children, minor J.A. ll and
minor D.A., and had been promised same, was told over the
telephone that minor J.A.ll had_ been wounded and that Jason
Anderson, Sr. had been killed. She was advised to meet her son
at Providence Alaska Medical Center in Anchorage, where he was
to be med-evacuated.

46. At the hospital, doctors informed Cherry Dietzmann of

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the severity of minor J.A.ll’s injuries and that he would
probably die. Cherry Dietzmann cMAl not have time ‘to “steel”
herself prior to seeing her son fighting for his life because of
the bullet through his brain, or prior to seeing her traumatized
daughter minor D.A.

47. Cherry Dietzmann suffered extreme emotional distress
from. this news, and continued to experience mental pain and
anguish from seeing minor J.A.ll endure multiple surgeries,
medical emergencies, a devastating stroke, and suffering massive
permanent debilitating brain injuries, and from seeing her
traumatized daughter minor D.A.

48. Moreover, following the shootout, the State of Alaska
assumed emergency custody of ndnor J}A.ll and minor D.A., and
placed minor D.A. in foster care for nearly six weeks after the
shootout, As a result of being forcibly separated from minor
D.A., Cherry Dietzmann experienced emotional distress. Minor,
D.A, in turn, suffered emotional distress from being separated
from her family for nearly six weeks after the traumatic events
of March l, 2006.

l 49. All of the Defendants and/or agents of the Defendants
and/or officers and/or persons acting in concert with them,
acted in a culpable fashion and/or contrary to reasonable and/or
standard police policies, procedures, custom, practice, and/or
training in planning to attempt to apprehend and/or attempting

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to apprehend Jason Anderson, Sr. at the time and in the manner
that they did, and in failing to suspend the decision to
apprehend Anderson, Sr. when it was reasonable that they should
do so. As a direct and proximate result of their unreasonable
and culpable conduct, breaches of policy, procedure, custom,
practice, training, and/or duty, minor J.A. ll was permanently
and catastrophically injured, and all of the Plaintiffs suffered
and will suffer emotional distress, loss of consortium, economic
loss, harm, and other damages.

50. The United States of America and/or United States
Marshal’s Office are vicariously liable for the actions of the
United States Deputy Marshals Guinn and Olson and/or the other
Defendants and/or the arresting officers and/or their agents
and/or persons acting in concert with them. The United States
Marshal's Office is also directly liable for the failure to
adequately train and/or supervise and/or establish appropriate
police practices and procedures to deal with a hostage situation
and/or arrest in the presence of innocent parties exposed to
harm, and for allowing the culpable officers to participate in
the attempted apprehension, and to act as they did.

51. The State of Alaska took minor D.A. away from, her
mother Cherry Dietzmann after the tragic shootout, further
exacerbating Cherry Dietzmann and minor D.A.'s emotional
distress over the shootout, and the horrible injuries incurred

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by minor J.A.ll. The Defendants United States of America and/or
United States Marshal’s Office and/or Defendant Guinn and/or
Defendant Olson and/or Defendants John Does l-X are responsible
for all damages resulting thereof, including emotional distress
and loss of consortium.

52. Due to a manner in which the post-shooting
investigation was conducted, including the conflict of interest
presented as to the investigators conducting same, and the
conduct of the investigators and certain of the Defendants, the
United States of America and/or the United States Marshal’s
Office, Defendant Kevin Guinn, Defendant John Olson, Jr.,
Defendants John Does l-X, and certain other entities and
individuals including, certain of the Defendants who
participated in said investigation in a culpable fashion, were
and/or are culpable and liable for spoliation of evidence and/or
violation of Plaintiffs’ rights to full and fair civil and
criminal investigation under the applicable Alaska statutes,
Federal Statutes, and .Alaska and. United. States constitutional
provisions and common law.

54. This spoliation of evidence and/or failure to conduct
an investigation included, but was not limited to, failing to
properly interview witnesses in a timely fashion, collect
physical evidence, preserve physical evidence, and record
statements.

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IV. NEGLIGENCE AND/OR RECKLESSNESS AND/CR
OTHER CULPABLE CONDUCT

55. Plaintiffs hereby re-plead, re-complain, re-state and
re-allege and incorporate paragraphs l through 54 above as
though fully set forth herein.

56. The negligence and/or recklessness and/or culpable
conduct of certain of the named Defendants and/or their agents
and/or persons acting in concert with them included, but was not
limited to:

a. Devising and/or participating in a plan to
apprehend Jason Anderson, Sr. that was defective and/or
unreasonable and/or contrary to appropriate and/or reasonable
and/or standard law enforcement policies, procedures, custom,
practice, and/or training, and would forseeably lead to harm and
injury of the Plaintiffs.

b. Failing to suspend the decision to arrest Jason
Anderson, Sr. and failing to retreat, and pursuing the attempted
apprehension with resulting shoot out, acting contrary to safe
and reasonable attempts to apprehend Jason Anderson, Sr., when
it became evident that Jason Anderson, Sr. could not be safely
apprehended without unreasonable risk to minor J.A.ll and minor

D.A.;

c. Certain of the defendant law enforcement officers

had propensities to act impulsively, inappropriately and/or

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violently, which propensities were known and/or should have been
known by supervisors and/or the United States Marshal’s Office.
Corrective action was not taken and defendants are liable for
said negligent, reckless, and/or intentional culpable conduct
and such conduct and/or the indifference to same should result
in culpability against the United States defendants, including
the individual federal law enforcement officers, for violation
of federally protected statutory and constitutional rights under
applicable law including the Bivens doctrine.

d. violations of other duties as will be revealed
through discovery.

57. The Defendants' actions were not immune.

58. As a direct and proximate result of the Defendants'
culpable conduct, negligence and/or recklessness, minor J.A.ll,
was seriously and permanently injured, and all of the Plaintiffs
have suffered, and will suffer, extreme emotional distress.

59. As a direct and proximate result of the Defendants'
culpable conduct, negligence and/or recklessness, the Plaintiffs
have suffered and will suffer injuries, have incurred and will
incur medical bills, and have suffered and will suffer personal
injuries and damages and economic damage.

60. As a direct and. proximate result of the Defendants'
culpable conduct, negligence and/or recklessness, the Plaintiff
minor J.A.ll suffered, permanent and. catastrophic disabilities,

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brain damage, gross disfigurement, and will require lifelong
around-the-clock care for remainder of his natural life.

6l. As a direct and proximate result of Defendants'
culpable conduct, negligence and/or recklessness, the Plaintiffs
have experienced and will suffer pain and mental anguish, in an
amount to be proven at trial.

62. As a <direct and. proximate result of the Defendants'
culpable conduct, negligence and/or recklessness, Cherry
Dietzmann, the mother of minor J.A.ll, has been and. will be
deprived of the consortium, companionship, and care of her son
and daughter, in an amount to be proven at trial.

63. As a direct and proximate result of the Defendants'
culpable conduct, negligence and/or recklessness, minor D.A. has
been deprived of the consortium, companionship, and care of her
brother, minor J.A.ll, and he of her, in amounts to be proven at
trial.

64. Defendants acted with negligence and/or extreme
recklessness and/or outrageous disregard and/or with reckless
indifference to the interests of another person concerning the
likelihood_ of harn1 to persons such. as the Plaintiffs. As a
direct and proximate result of that conduct, Plaintiff minor
J.A.ll was permanently and catastrophically injured and all of
the Plaintiffs suffered and will suffer extreme emotional
distress and other damages set out and all damages caused by

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such culpable conduct.

65. Plaintiffs note that Defendants may attempt to claim
contrary to reality and evidence that the shot that grievously
and catastrophically wounded minor J.A. was fired by his
deceased father, the subject of the ill-advised operation.

While that claim. will fail in litigation, it is largely
irrelevant given the culpable conduct of defendants in planning
and/or precipitating and/or executing the operation and
confrontation and continuing to unreasonably pursue the
attempted apprehension with resulting shootout, given the
knowledge the defendants had that to do so meant almost certain
injury or death to a child, which, in fact, occurred.

V. PUNITIVE DAMAGES

66. Plaintiffs hereby re-plead, re-complain, re-state and
re-allege and incorporate paragraphs l through 65 above as
though fully set forth herein.

67. The conduct of Defendants and/or their employees
and/or agents and/or persons acting in concert with 'them,
individually, jointly and severally was willful, wanton,
reckless and with reckless indifference and/or in deliberate
disregard of the foreseeable consequences and the interests of
other persons, and calls for the imposition of punitive damages

against all defendants individually, jointly and severally who

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are subject to same under the law in an appropriate amount to
chill and deter such conduct in the future, with due regard to
the nature of the culpable conduct at issue, and harm to
plaintiffs, and the net worth of the respective defendants,
WHEREFORE the Plaintiffs seek the following relief:
a. Compensatory damages on behalf of plaintiff minor
J.A.ll against defendants jointly and/or severally in
excess of $75,000,000, the exact amount to be proved

at trial;

b. Compensatory damages on behalf of plaintiff minor D.A.
in excess of $5,000,000 against defendants jointly
and/or severally, the exact amount to be proved at

trial;

c. Compensatory damages on behalf of plaintiff Cherry
Dietzmann in excess of $20,000,000 against defendants
jointly and severally, the exact amount to be proved

at trial;

d. Monetary damages sufficient to compensate all
Plaintiffs for their emotional distress;

e. For punitive damages against each Defendant in his
individual capacity for which such damages are
allowable by law in an appropriate amount;

f. For appropriate prejudgment and post-judgment interest

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in the maximum amount allowable by law;

g. An award of costs, attorneys’ fees, interest, and other
relief as the Court may deem just and equitable;

DATED this ;QL;;ay of January, 2009, at Anchorage, Alaska.

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